                Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 1 of 30



                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

 Information Images, LLC,
            Plaintiff,                                     Case No. 6:20-cv-268
                            v.
 PGAJTOUR, Inc.,                                           JURY TRIAL DEMANDED
            Defendant.

                    ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

           Plaintifflnformation Images, LLC ("Information Images" or "Plaintiff') files this Original

Complaint for Patent Infringement against Defendant PGA TOUR, Inc. ("PGA TOUR" or

"Defendant").

                                      NATURE OF THE ACTION

           1.       This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. § 101 et seq. This action involves U.S. Patent No. 9,806,832 (the '"832 Patent")

and U.S. Patent No. 10,270,552 (the "'552 Patent"). See Ex. A (the '832 Patent), Ex. B (the '552

Patent).

                                                 PARTIES

       2.           Plaintiff Information Images is a Texas limited liability company with its principal

place of business at 2229 San Felipe Street, Suite 1000, Houston, Texas 77019.                  Plaintiff

Information Images is the owner by assignment of the' 832 Patent and the '552 Patent. Information

Images is owned and managed by the inventor of the '832 Patent and the '552 Patent, Arthur B.

Long, III ("Arthur Long" or "Long").

       3.           Defendant PGA TOUR is a Maryland corporation having its principal place of

business at 112 PGA Tour Boulevard, Ponte Vedra Beach, Florida 32082.
            Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 2 of 30



                                  JURISDICTION AND VENUE

       4.       This Court has original subject matter jurisdiction over this action in accordance

with 28 U.S.C. §§ 1331 and 1338(a) because this action arises under the patent laws of the United

States, 35 U.S.C. §101, et seq.

       5.       The Court has personal jurisdiction over Defendant PGA TOUR because Defendant

PGA TOUR maintains a regular and established place ofbusiness in the State of Texas within this

judicial district and has purposely availed itself of the privileges and benefits of the laws of the

State of Texas. Defendant PGA TOUR has continuous and systematic business contacts with the

State of Texas.     Indeed, Defendant PGA TOUR, directly and/or through subsidiaries or

intermediaries, conducts its business extensively throughout Texas, including by holding

professional golf tournaments in the State of Texas and in this district, by owning and operating

golf courses in the State of Texas and in this district, and by setting up ShotLink mobile offices in

the State of Texas and in this district to manage ShotLink operations onsite for the duration of

tournaments held by PGA TOUR. Ex. V; Ex. W. Defendant PGA TOUR, directly and/or through

subsidiaries or intermediaries, has purposefully and voluntarily used its infringing products and

services in this district with the intention and expectation that they will be used by consumers in

this district. Defendant PGA TOUR has a physical place of business located in the district at TPC

San Antonio, 23808 Resort Parkway, San Antonio, Texas 78261. Ex. C.

       6.       Defendant PGA TOUR maintains a regular and established place ofbusiness in this

district because TPC San Antonio golf course is "regular and established." TPC San Antonio

opened in January 2010 and has hosted the PGA TOUR's Valero Texas Open since 2010. The

PGA TOUR's operation of such tournament in the Western District ofTexas since at least 2010




                                                 2
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 3 of 30



also reflects "a regular and established place of business." Ex. Q, p. 1; See also the TPC San

Antonio address sign illustrated below 1:




See also Valero Open golf course map illustrated below2 :




1
  Available at: https://www.titleist.com/teamtitleist/m/ryancrysler 051310/113 70. Retrieved:
March 3, 2020.
2
  Available at: https://forums.golfwrx.com/discussion/1760965/2019-valero-texas-open-monday-
1. Retrieved: March 3, 2020.

                                                3
            Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 4 of 30




       7.       Further, Defendant PGA TOUR regularly hosts recurring, established events held

annually in this district for decades, including the Valero Texas Open in San Antonio, Texas and

the World Golf Championships-Dell Technologies Match Play in Austin, Texas. Ex. D; Ex. E;



                                               4
               Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 5 of 30



Ex. N (stating "[t]he Valero Texas Open has been a proud San Antonio tradition for nearly 100

years"); Ex. 0, pp. 3, 4, 6, 9 (listing PGA TOUR volunteer opportunities available in the State of

Texas and within this judicial district); Ex. P (displaying a list of jobs with the PGA TOUR in

Texas).

          8.       In addition, TPC San Antonio is a place of Defendant PGA TOUR because TPC

San Antonio is part of the TPC Network, which is owned, operated, and licensed by Defendant

PGA TOUR, or is at least an alter ego ofPGA TOUR. Ex. C, p. 1.

          9.       Venue is proper in this district under 28 U.S.C. § 1400(b).

                                     FACTUAL BACKGROUND

          10.      This case involves technology for the "gathering, processing, and distributing [of]

information of a sporting event over a wireless network covering the sporting event." Ex. A,

'832 Patent, at Abstract. In particular, the technology includes a "system capable of gathering

player and game information from a sporting event such as a golf tournament, processing that

information, and broadcasting the information over a network to handheld devices carried by

spectators of the sporting event." !d. at 1:12-19.

          11.      Historically, "during certain events such as golf tournaments, it is difficult for

spectators to get real-time information about the status [of] players who may be located a great

distance away from where the spectator is watching, or may not be visible at all." !d. at 1:25-29.

Further, "due to tournament restrictions, spectators may be limited in the amount of access they

have to the proximity of the players and surrounding golf course." !d. at 1:30-32. As such, prior

to the Plaintiffs patents, spectators were "limited in the amount of real-time information they can

get about a particular player and his status, and how each player is doing relative to others during

the course of the tournament, or on particular holes." !d. at 1:33-36.




                                                    5
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 6 of 30



        12.    Plaintifflnformation Images has U.S. patents directed to "systems and methods of

gathering, processing, and broadcasting real-time information of the sporting event to portable

devices carried by spectators ofthe sporting event" including the '832 Patent and the '552 Patent.

!d. at 1:41-43; see also Ex. B, '552 Patent, 1:44-46. Arthur Long is the named inventor of the '832

Patent and the '552 Patent.

        13.    The '832 Patent and the '552 Patent generally describe and claim a system of

gathering, processing, and distributing information of a golf tournament over a wireless network

that includes a first portable device, a second portable device, and a production module.

        14.    The '832 Patent generally describes and claims a method of gathering, processing,

and distributing information of a golf tournament over a wireless network that includes providing

a first portable device to be carried by a broadcast or other authorized spotter, inputting data by

the spotter to the first portable device, transmitting input data over the wireless network to a second

portable device, transmitting input data over the wireless network to a production module, and

selectively displaying graphical representations of the transmitted data.

        15.    The '552 Patent generally describes and claims a method of gathering, processing,

and distributing information of a golf tournament over a wireless network that includes providing

a first portable device to be carried by a spotter, inputting data by the spotter to the first portable

device, distributing input data over the wireless network to a second portable device, distributing

input data over the wireless network to a production module, and selectively displaying graphical

representations of the transmitted data and endorsement information.

        16.    The use of the systems and methods described and claimed in the '832 Patent and

the '552 Patent enable viewers (e.g., patrons or users) of a golf tournament to access, via inquires

on commercially available portable devices, real-time information of interest, such as location,




                                                  6
           Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 7 of 30



condition, and "lie" of a particular player's ball, the order of play of various players in the group,

player's club selections, endorsement information, and other events regarding status of the game,

course conditions, or any other game activity.

          17.   Further, the systems and methods described in the '832 Patent and the '552 Patent

"have the capacity to gather, process, and distribute information from spotters covering all players

in the field simultaneously, making the present system as real-time as possible in distributing

information to patrons regarding all players in the field, either on demand or otherwise (i.e., force-

fed to the portable devices), depending on the nature of the information." Ex. A, 7:35-42.

          18.   Arthur Long has been an avid golfer for more than 30 years. Since August 2009,

Long has enjoyed participating in PGA TOUR events as a volunteer spotter. Through his spotting

activities, Long identified a longstanding deficiency in the gathering and application of statistical

analysis and data analytics at professional golf tournaments and an opportunity for technology to

enhance the experience of patrons and viewers of golf tournaments. Arthur Long developed a real-

time, interactive information system for professional golf tournaments and filed U.S. Provisional

Application No. 61/382,203 (the "'203 Application") on September 13,2010, from which the '832

Patent and the '552 Patent claim priority. Plaintiff Information Images is the owner through

assignment ofthe '832 Patent and the '552 Patent.

          19.   On or around May 2012, Long scheduled a meeting with executives of the PGA

TOUR with the intent of entering into a business relationship that would enable his invention to

be implemented to enhance the viewing experience of tournament patrons. At the meeting, Long

demonstrated his inventions and notified the PGA TOUR of the patent pending status of the '832

Patent.




                                                  7
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 8 of 30



       20.     Further, during the meeting, Arthur Long demonstrated new features, as described

in the '832 Patent including a first portable device with a map of the golf course and a second

portable device displaying endorsements. Long's impression during the meeting was that the PGA

TOUR executives present were interested in his invention. The executives asked Long a number

of questions and carefully studied the written materials that Long brought to the meeting. At the

conclusion of the meeting, the PGA TOUR executives thanked Long for his presentation and said

that they would contact him to discuss next steps. The parties continued to communicate by

telephone and email.

       21.     After the '832 Patent issued, Arthur Long requested a meeting with Defendant PGA

TOUR and was granted a meeting on July 25, 2018, at 11 :00 AM (local time). At the meeting,

Long informed Defendant PGA TOUR that he had been awarded the '832 Patent and that he had

filed an additional patent application that might be of interest to the PGA TOUR. Defendant PGA

Tour's Steve Evans asked about potential litigation and requested that Long submit a business

proposal concerning the '832 Patent.

       22.     In response to PGA TOUR's request for a business proposal and to clarify his

position, Long sent Defendant PGA TOUR a notice letter, dated January 9, 2019, ("Notice

Letter"), identifying the' 832 Patent and referencing the continuation patent application of the' 832

Patent, that later issued as the '552 Patent. This Notice Letter was at least received by Defendant

PGA TOUR on or about February 27,2019.

       23.     In response to the Notice Letter, Defendant, via email on March 7, 2019, stated that

the Notice Letter contained threats and that same letter was being reviewed by its legal counsel.




                                                  8
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 9 of 30



       24.        On March 8, 2019, via email, Arthur Long informed Defendant PGA TOUR that

"no 'threats' were intended and ... no 'threats' were made." Additionally, Long expressed his

wishes "for a business solution."

       25.        On or about April 2, 2019, Long was surprised to receive an email from Steve

Evans, one of the PGA TOUR executives who had met with Long, that stated: "At this time, the

PGA TOUR is not interested in further pursuing a commercial relationship for your services ....

PGA TOUR hereby expressly reserves any and all rights to freely use, without compensation to

you, any information, ideas, inventions or other materials that you choose to provide to the PGA

TOUR."

       26.        Following the email, Long heard nothing else from the PGA TOUR regarding his

inventions, and the PGA TOUR did not pursue any business with Long.

       27.        Although the PGA TOUR never sought to license the '832 Patent or otherwise

compensate Long for the use of his inventions, Long has learned that the PGA TOUR has

implemented the system and method claimed in the '832 Patent and in the subsequent '552 Patent

without notice, authorization, or compensation to Information Images.

       28.        On information and belief, the PGA TOUR has begun making, using, importing,

selling and/or offering for sale products in this district and elsewhere in the United States that

infringe the '832 Patent and the '552 Patent literally, directly or indirectly, or under the doctrine

of equivalents.     On information and belief, the infringing products are the ShotLink system

including at least ShotLink Plus, PGA TOUR Mobile application, and ShotLink® software as a

system, service, and related hardware (collectively, "ShotLink") as specifically discussed herein.

While earlier versions of the PGA TOUR's ShotLink system existed prior to the '832 and '552

patents, on information and belief, the prior versions of ShotLink did not include the features and




                                                  9
        Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 10 of 30



enhancements disclosed and claimed in the '832 and '552 patents until after Long's meeting with

the PGA TOUR discussed above.

       29.    According to PGA TOUR literature, the ShotLink system now operates on

approximately 93 events each year and provides data to a variety of sources, including the media,

on-site and international television broadcast partners, PGATOUR.COM, studio golf shows such

as Golf Central and Inside the PGA TOUR, players, coaches, caddies, mobile devices, on-site

partners who provide fan enhancements at tournaments such as video boards and kiosks, golf

course architects, and others. Ex. K. Indeed, the PGA TOUR currently touts the ShotLink System

as "a revolutionary platform" intended to "[t]urn data into information, information into

knowledge, and knowledge into entertainment."        Ex. F.   The enhanced ShotLink provides

additional opportunities for PGA TOUR to significantly grow its revenue through increased

engagement with the public and others.     In fact, on or about November 2018, PGA TOUR

announced plans to monetize the real-time data made possible by the latest version of ShotLink

through a partnership with IMG Arena, which will distribute the data to sports media companies,

news services, and regulated sports betting and gaming markets. Ex. S.

       30.    The PGA TOUR has committed acts of infringement of the '832 Patent and the

'552 Patent via use ofShotLink throughout the State ofTexas and elsewhere at PGA TOUR events

including the Valero Texas Open in San Antonio, Texas, the World Golf Championships-Dell

Technologies Match Play in Austin, Texas, AT&T Byron Nelson in Dallas, Texas, the Charles

Schwab Challenge in Fort Worth, Texas, and the Houston Open in Humble, Texas. Ex. D; Ex. E

(describing ShotLink operations at the Valero Texas Open which includes "provid[ing] real-time

data and scoring of every shot made by the pros which will be prominently featured on




                                               10
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 11 of 30



PGATOUR. com, the PGA TOUR App and on the national and international television

broadcasts.").

        31.      On information and belief, Defendant PGA TOUR's infringement has been willful

since at least receipt of the Notice Letter.


                                     COUNT I
                      (INFRINGEMENT OF U.S. PATENT NO. 9,806,832)

        32.      Plaintiff incorporates herein all paragraphs above by reference.

        33.      On October 31, 2017, the United States Patent and Trademark Office issued the

'832 Patent, titled "Sports Information Gathering and Broadcasting System." Plaintifflnformation

Images is the owner through assignment of the '832 Patent.

        34.      The '832 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 ofthe United States Code.

        35.      On information and belief, PGA TOUR has committed acts of direct infringement

of the '832 Patent under 35 U.S.C. § 271(a) at least by making, using, selling, offering to sell,

and/or importing into the United States ShotLink, as described herein.

        36.      In addition to directly infringing the '832 Patent through making, using, selling,

offering to sell, and/or importing into the United States ShotLink, the use of ShotLink by others,

as intended by PGA TOUR and in accordance with instructions provided by the PGA TOUR,

directly infringes the '832 Patent. Specifically, the PGA TOUR provides ShotLink to users in the

United States with the expectation and intent that such users will use ShotLink, thereby directly

infringing the '832 Patent.      PGA TOUR has had knowledge of the '832 Patent, and the

infringement of the '832 Patent, since at least the receipt of the Notice Letter. As such, PGA

TOUR has induced infringement ofthe '832 Patent under 35 U.S.C. § 271(b).




                                                  11
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 12 of 30



        37.         PGA TOUR has been aware since its meeting with Long in 2012 and since the

receipt of the Notice Letter, that ShotLink has infringing features that were especially made or

especially adapted for use in an infringement of the '832 Patent, are not a staple article or

commodity of commerce, and have no substantial use that does not infringe the '832 Patent.

Because Shot.4ink itself infringes the '832 Patent, any use or sale thereof infringes the '832 Patent.
               'I
As such, PGA TOUR's making, using, and offering of ShotLink constitutes contributory

infringement ofthe '832 Patent under 35 U.S.C. § 271(c).

        38.         PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 and Claim 5

of the '832 Patent by ShotLink, a system and method of gathering, processing, and distributing

information of a golf tournament over a wireless network as described in the '832 Patent.

Specifically, ShotLink comprises a first portable device, a second portable device, and a

production module as described in the '832 Patent. Further, ShotLink comprises providing a first

portable device carried by a spotter, inputting data by the spotter, transmitting input data over the

wireless network to a second portable device, transmitting input data over the wireless network to

a production module, and selectively displaying graphical representations of the transmitted data.

        39.         PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 and Claim 5

of the '832 Patent by ShotLink, which includes a system and a method of gathering, processing,

and distributing information of a golf tournament over a wireless network as described in Ex. F,

p.1 (describing ShotLink as "revolutionary platform for collecting and disseminating scoring and

statistical data on every shot by every player in a tournament, in real time .... [t]his state-of-the-art

technology helps to significantly improve real-time accuracy and data speed."); Ex. G, p. 1 (stating



                                                     12
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 13 of 30



"[t]he PGA TOUR has completed the implementation of a WiFi data collection system that utilizes

the 802.11 a frequency band.").

       40.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 of the '832

Patent by ShotLink, which includes a first portable device configured to be carried by a broadcast

or other authorized spotter of the golf tournament, the spotter having special permitted access to a

golf course of the golf tournament and to participants of the golf tournament, the first portable

device including a map of the golf course, the first portable device being configured to receive

input data from the spotter regarding status of a selected player's golf ball during the golf

tournament in real time after the golf ball has been hit by the selected player on a current hole of

the selected player, the first portable device being configured to present information regarding the

location and distance of the selected player's ball relative to the map of the golf course in real time

after the ball has been hit by the selected player, the input data including information pertaining to

the lie and the condition of the golf ball being tracked by the spotter and the selected player's

strokes as they occur, the first portable device being configured to transmit the input data over the

wireless network in real time during the golf tournament as described and shown in at least Ex. F

(stating "tablet operators are positioned next to the green and plot shots on a Surface tablet when

the ball comes to rest. This state-of-the-art technology helps to significantly improve real-time

accuracy and data speed"); Ex. E (stating that volunteers will "input stroke, scoring and statistical

information"); Ex. G; Ex. I, pp.l-2 at (stating that ShotLink is "a state-of-the-art system for

collecting and distributing real-time scoring and statistical data" and that the role of a tablet

operator includes "using a handheld tablet device to plot the landing position of shots on and

around the green" and "[t]ablet operators are expected to walk around the green as necessary to



                                                  13
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 14 of 30



gain accurate insight into the location of each shot without interrupting play ... [and] should be

comfortable using a tablet device to enter the ball's location"); Ex. J (stating "volunteers will be

inside the ropes using a tablet that has a map of the green"); Ex. K (stating"[ e)ach golf course is

mapped prior to the event so a digital image of each hole is used as background information in

order to calculate exact locations and distances between any two coordinates (e.g., tee box and the

player's first shot or the shot location and location of the hole)."); Ex. R, pp. 1-2 (describing a

ShotLink volunteer's experience including receiving "a small tablet into which I would input data"

such as "tapping in information about the player's location, lie and stance"); Ex. T (stating "[t]he

job of a walking scorer is to walk with a group and keep their score and specific statistics .... [A

walking scorer] will be issued equipment which includes a handheld device."); Ex. U (illustrating

a walking scorer entering information on a handheld device).




                                                 14
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 15 of 30




              How Shotlink Plus is revolutionizing how we see golf I Orchestrating
              the PGA TOUR
              ~ Skratch

              ~             •       •   ·-   96.3K
                                                                                     13,036 views
              +   Add to        ~ Share      • • • More                                •• 182    ,. ,




             How ShotLink Plus is revolutionizing how we see golf I Orchestrating
             the PGA TOUR


                                                                                     13,036 views
             +    ACid to       ~   Share    ••• More                                  • • 182   ,. J




Ex. H, pp. 1-2 (illustrating the first portable device with a map of the golf course).

       41.       PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 of the '832

                                                          15
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 16 of 30



Patent by ShotLink, which includes a second portable device carried by a patron of the golf

tournament to receive transmitted input data over the wireless network, and to selectively display

current statistics pertaining to the selected hole and graphical representations of the transmitted

input data according to an input from the patron as described and shown in at least Ex. G; Ex. K,

p. 1 (stating ShotLink provides data to "[m]obile devices"); Ex. L, pp. 8, 11 (illustrating the second

portable device with graphical representation of transmitted input data); Ex. M, p. 1 (describing

displayed features of ShotLink on the second portable device including live player scorecards and

course details and illustrating graphical representations).

       42.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 of the '832

Patent by ShotLink, which includes the second portable device comprising a memory with pre-

programmed information stored therein, the pre-programmed information including endorsements

of respective participants of the golf tournament by manufacturers of equipment used by the

respective participants of the golf tournament as described and shown in Ex. M, p. 1 (illustrating

the endorsements).

       43.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 of the '832

Patent by ShotLink, which includes a production module configured to receive transmitted input

data over the wireless network simultaneously from a plurality of spotters covering various players

of the golf tournament, the production module being configured to display transmitted input data

such that the production module selectively distributes a portion of the transmitted input data to an

external television network based on characteristics of displayed input data, the production module

having a processing module connected between the production module and the wireless network,




                                                  16
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 17 of 30



the processmg module configured to rece1ve data requests over the wireless network

simultaneously from a plurality of second portable devices and to distribute requested data to each

second portable device over the wireless network based on received data requests from each second

portable device, respectively as described and shown in Ex. G; Ex. K, pp. 1-2 (stating

"approximately 350 volunteers per event to score the golf tournament" and that ShotLink provides

data to various sources including on-site and international broadcast partners, PGATOUR. com,

studio shows, players, coaches, caddies, print media, mobile devices, on-site partners for fan

enhancement, etc.); Ex. L, p. 8 (illustrating transmission of input data via Internet and telecast).

See also at least as shown as follows 3 :




                How Shotlink works on the PGA TOUR
                Since the official Shot link era began on the PGA TOUR in 2002, this tool has provided the ability to record instrumental slats in order to
                enhance the overall fan and player experience




        44.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 5 of the '832

Patent by ShotLink, which includes providing a first portable device to be carried by a broadcast



3
 See https ://www. pgatour. com/video/20 17/04/04/how -shotlink-works-on-the-pga-tour .html (last
visited February 18, 2020).

                                                                                      17
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 18 of 30



or other authorized spotter of the golf tournament, the first portable device including a map of the

golf course, the spotter having special permitted access to a golf course of the golf tournament and

to participants of the golf tournament as described and shown in Ex. F, p. 1 (stating "tablet

operators are positioned next to the green and plot shots on a Surface tablet when the ball comes

to rest. This state-of-the-art technology helps to significantly improve real-time accuracy and data

speed" and describing ShotLink as "a revolutionary platform for collecting and disseminating

scoring and statistical data on every shot by every player in a tournament, in real time."); Ex. H,

pp. 1-2 (illustrating tablets used by volunteers to input data); Ex. I (stating that ShotLink is "a

state-of-the-art system for collecting and distributing real-time scoring and statistical data" and

that the role of a tablet operator includes "using a handheld tablet device to plot the landing position

of shots on and around the green" and "[t]ablet operators are expected to walk around the green as

necessary to gain accurate insight into the location of each shot without interrupting play .... [and]

should be comfortable using a tablet device to enter the ball's location"); Ex. R, pp. 1-2 (describing

a ShotLink volunteer's experience including receiving "a small tablet into which I would input

data" such as "tapping in information about the player's location, lie and stance").

        45.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 5 of the '832

Patent by ShotLink, which includes inputting data by the spotter to the first portable device

regarding status of a player's golf ball during the golf tournament in real time after the golf ball

has been hit by the player on a current hole of the player, the first portable device being configured

to present information regarding the location and distance of the player's ball relative to the map

of the golf course in real time after the ball has been hit by the player, the input data including

information pertaining to the lie and the condition of the golf ball being tracked by the spotter and




                                                   18
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 19 of 30



the player's strokes as they occur as described and shown in Ex. F; Ex. E; Ex. G; Ex. H, p. 2

(illustrating input of data to the first portable device); Ex. I (stating "using a handheld tablet device

to plot the landing position of shots on and around the green"); Ex. R; Ex. T; Ex. U.

        46.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 5 of the '832

Patent by ShotLink, which includes transmitting input data over the wireless network to a second

portable device carried by a patron of the golf tournament in real time during the golf tournament,

the second portable device comprising a memory with pre-programmed information stored therein,

the pre-programmed information including endorsements of respective participants of the golf

tournament by manufacturers of equipment used by the respective participants of the golf

tournament as described and shown in Ex. F; Ex. E; Ex. G; Ex. I; Ex. L, pp. 8, 11; Ex. M.

        47.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 5 of the '832

Patent by ShotLink, which includes transmitting input data over the wireless network to a

production module simultaneously from a plurality of spotters covering various players of the golf

tournament, the production module being configured to display transmitted input data such that

the production module selectively distributes a portion of the transmitted input data to an external

television network based on characteristics of displayed input data, the production module having

a processing module connected between the production module and the wireless network, the

processing module configured to receive data requests over the wireless network simultaneously

from a plurality of second portable devices and to distribute requested data to each second portable

device over the wireless network based on received data requests from each second portable

device, respectively as described and shown in Ex. F; Ex. G; Ex. I; Ex. L, pp. 8, 11; Ex. M.




                                                   19
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 20 of 30



       48.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 5 of the '832

Patent by ShotLink, which includes selectively displaying graphical representations of the

transmitted data on the second portable device according to inquiries of the patron as described

and shown in Ex. I; Ex. L, pp. 8, 11; Ex. M.

       49.     On information and belief, Defendant PGA TOUR's infringement has been willful

since at least receipt ofthe Notice Letter.


                                   COUNT II
                    (INFRINGEMENT OF U.S. PATENT NO. 10,270,552)

       50.     Plaintiff incorporates herein all paragraphs above by reference.

       51.     On April23, 2019, the United States Patent and Trademark Office issued the '552

Patent. The '552 Patent is a continuation of the '832 Patent. Plaintifflnformation Images is the

owner through assignment of the '552 Patent.

       52.     The '552 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       53.     On information and belief, PGA TOUR has committed acts of direct infringement

of the '552 Patent under 35 U.S.C. § 271(a) at least by making, using, selling, offering to sell,

and/or importing into the United States ShotLink, as described herein.

       54.     In addition to directly infringing the '552 Patent through making, using, selling,

offering to sell, and/or importing into the United States ShotLink, the use of ShotLink by others,

as intended by PGA TOUR and in accordance with instructions provided by the PGA TOUR,

directly infringes the '552 Patent. Specifically, the PGA TOUR provides ShotLink to users in the

United States with the expectation and intent that such users will use ShotLink, thereby directly

infringing '552 Patent. PGA TOUR has had knowledge of the '552 Patent, and the infringement


                                                20
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 21 of 30



ofthe '552 Patent, since at least the receipt ofthe Notice Letter. As such, PGA TOUR has induced

infringement ofthe '552 Patent under 35 U.S.C. § 271(b).

        55.    PGA TOUR has been aware, since its meeting with Long in 2012, and since receipt

of the Notice Letter, that ShotLink has infringing features that were especially made or especially

adapted for use in an infringement of the '552 Patent, are not a staple article or commodity of

commerce, and have no substantial use that does not infringe the '552 Patent. Because ShotLink

itself infringes the '552 Patent, any use or sale thereof infringes the '552 Patent. As such, PGA

TOUR's making, using, and offering ShotLink constitutes contributory infringement of the '552

Patent under 35 U.S.C. § 271(c).

       56.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 and Claim 13

of the '552 Patent by ShotLink, a system and method for gathering, processing, and distributing

information of a golf tournament over a wireless network as described in the '552 Patent.

Specifically, ShotLink includes a first portable device, a second portable device, and a production

module. Further, ShotLink comprises providing a first portable device, inputting data by the

spotter, distributing input data over the wireless network to a second portable device, distributing

input data over the wireless network to a production module, and selectively displaying graphical

representations of the transmitted data.

       57.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 and Claim 13

of the '552 Patent by ShotLink, which includes a system and a method of gathering, processing,

and distributing information of a golf tournament over a wireless network as described in Ex. F,

p.1 (describing ShotLink as "revolutionary platform for collecting and disseminating scoring and




                                                21
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 22 of 30



statistical data on every shot by every player in a tournament, in real time .... [t]his state-of-the-art

technology helps to significantly improve real-time accuracy and data speed."); Ex. G, p. 1 (stating

"[t]he PGA TOUR has completed the implementation of a WiFi data collection system that utilizes

the 802.11 a frequency band.").

        58.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 of the '552

Patent by ShotLink, which includes a first portable device configured to be carried by a spotter of

the golf tournament, the spotter having special permitted access to a golf course of the golf

tournament and to participants of the golf tournament, the first portable device including a map of

the golf course, the first portable device being configured to receive input data from the spotter

regarding status of a selected player's golf ball during the golf tournament in real time after the

golf ball has been hit by the selected player on a current hole of the selected player, the first

portable device being configured to present information regarding the location and distance of the

selected player's ball relative to the map of the golf course in real time after the ball has been hit

by the selected player, the input data including information pertaining to the lie and the condition

of the golf ball being tracked by the spotter and the selected player's strokes as they occur, the first

portable device being configured to distribute the input data over the wireless network in real time

during the golf tournament as described and shown in at least Ex. F (stating "tablet operators are

positioned next to the green and plot shots on a Surface tablet when the ball comes to rest. This

state-of-the-art technology helps to significantly improve real-time accuracy and data speed");

Ex. E (stating that volunteers will "input stroke, scoring and statistical information"); Ex. G; Ex. I,

pp.l-2 at (stating that ShotLink is "a state-of-the-art system for collecting and distributing real-

time scoring and statistical data" and that the role of a tablet operator includes "using a handheld




                                                   22
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 23 of 30



tablet device to plot the landing position of shots on and around the green" and "[t]ablet operators

are expected to walk around the green as necessary to gain accurate insight into the location of

each shot without interrupting play .... [and] should be comfortable using a tablet device to enter

the ball's location"); Ex. J (stating "volunteers will be inside the ropes using a tablet that has a

map of the green."); Ex. K (stating "[ e]ach golf course is mapped prior to the event so a digital

image of each hole is used as background information in order to calculate exact locations and

distances between any two coordinates (e.g., tee box and the player's first shot or the shot location

and location of the hole)."); Ex. R, pp. 1-2 (describing a ShotLink volunteer's experience including

receiving "a small tablet into which I would input data" such as "tapping in information about the

player's location, lie and stance"); Ex. T (stating " [t]he job of a walking scorer is to walk with a

group and keep their score and specific statistics .... [A walking scorer] will be issued equipment

which includes a handheld device."); Ex. U (illustrating a walking scorer entering information on

a handheld device).




           How Shotlink Plus is revolutionizing how we see golf I Orchestrating
           the PGA TOUR
           ~ Skratch

           ~            •     •   •·   96.3K
                                                                                  13,036 views
           +   Add to       ~ Share    • • • More                                   ••   182   ,. 1




                                                       23
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 24 of 30




              How Shotlink Plus is revolutionizing how we see golf I Orchestrating
              the PGA TOUR
              ~ Skratch

              ~ I ~ Jj#8 963K                                                        13,036 views
              +   Add to   ~ Share   • • • Mor~                                        ••   182   ,. ,




Ex. H, pp. 1-2 (illustrating the first portable device with a map of the golf course).

        59.         PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 of the '552

Patent by ShotLink, which includes a second portable device carried by a user viewing the golf

tournament to receive distributed input data over the wireless network, and to selectively display

current statistics pertaining to the selected hole and graphical representations of the distributed

input data according to an input from the user, as described and shown in at least Ex. G; Ex. K,

p. 1 (stating ShotLink provides data to "[m]obile devices"); Ex. L, pp. 8, 11 (illustrating the second

portable device with graphical representation of transmitted input data); Ex. M, p. 1 (describing

displayed features of ShotLink on the second portable device including live player scorecards and

course details and illustrating graphical representations).

       60.          PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 of the '552

                                                          24
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 25 of 30



Patent by ShotLink, which includes the second portable device being configured to display pre-

programmed information provided to the second portable device including endorsement

information of manufacturers of equipment used by the respective participants of the golf

tournament as described and shown in Ex. M, p. 1 (illustrating the endorsements).

        61.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 1 of the '552

Patent by ShotLink, which includes a production module configured to receive distributed input

data over the wireless network simultaneously from a plurality of spotters covering various players

of the golf tournament, the production module being configured to display distributed input data

so as to selectively distribute at least a portion of the distributed input data to an external television

network based on characteristics of displayed input data, the production module having a

processing module connected between the production module and the wireless network, the

processing module being configured to receive data requests over the wireless network

simultaneously from a plurality of second portable devices and to distribute requested data to each

second portable device over the wireless network based on received data requests from each second

portable device, respectively as described and shown in Ex. G; Ex. K, pp. 1-2 (stating

"approximately 350 volunteers per event to score the golf tournament" and that ShotLink provides

data to various sources including on-site and international broadcast partners, PGATOUR.com,

studio shows, players, coaches, caddies, print media, mobile devices, on-site partners for fan

enhancement, etc.); Ex. L, p. 8 (illustrating transmission of input data via Internet and telecast).

See also at least as shown as follows 4 :




4
 See https ://www. pgatour. com/video/20 17/04/04/how-shotlink-works-on-the-pga-tour .html (last
visited February 18, 2020).

                                                   25
        Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 26 of 30




               How Shotlink works on the PGA TOUR
               Since the official Shotlink era began on the PGA TOUR in 2002, thrs tool has provided the ability to record instrumental slats in order to
               enhance the overall fan and player experience.




       62.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 13 of the '552

Patent by ShotLink, which includes providing a first portable device to be carried by a spotter of

the golf tournament, the first portable device including a map of the golf course, the spotter having

special permitted access to a golf course of the golf tournament and to participants of the golf

tournament as described and shown in Ex. F, p. 1 (stating "tablet operators are positioned next to

the green and plot shots on a Surface tablet when the ball comes to rest. This state-of-the-art

technology helps to significantly improve real-time accuracy and data speed" and describing

ShotLink as "a revolutionary platform for collecting and disseminating scoring and statistical data

on every shot by every player in a tournament, in real time."); Ex. H, pp. 1-2 (illustrating tablets

used by volunteers to input data); Ex. I (stating that ShotLink is "a state-of-the-art system for

collecting and distributing real-time scoring and statistical data" and that the role of a tablet

operator includes "using a handheld tablet device to plot the landing position of shots on and

around the green" and "[t]ablet operators are expected to walk around the green as necessary to

gain accurate insight into the location of each shot without interrupting play .... [and] should be


                                                                                     26
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 27 of 30



comfortable using a tablet device to enter the ball's location"); Ex. R, pp. 1-2 (describing a

ShotLink volunteer's experience including receiving "a small tablet into which I would input data"

such as "tapping in information about the player's location, lie and stance").

        63.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 13 of the '552

Patent by ShotLink, which includes inputting data by the spotter to the first portable device

regarding status of a player's golf ball during the golf tournament in real time after the golf ball

has been hit by the player on a current hole of the player, the first portable device being configured

to present information regarding the location and distance of the player's ball relative to the map

of the golf course in real time after the ball has been hit by the player, the input data including

information pertaining to the lie and the condition of the golf ball being tracked by the spotter and

the player's strokes as they occur as described and shown in Ex. F; Ex. E; Ex. G; Ex. H, p. 2

(illustrating input of data to the first portable device); Ex. I (stating "using a handheld tablet device

to plot the landing position of shots on and around the green"); Ex. R; Ex. T; Ex. U.

        64.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 13 of the '552

Patent by ShotLink, which includes distributing input data over the wireless network to a second

portable device carried by a user in real time during the golf tournament, the second portable device

being configured to display endorsement information provided to the second portable device

including endorsements of respective participants of the golf tournament by manufacturers of

equipment used by the respective participants of the golf tournament as described and shown in

Ex. F; Ex. E; Ex. G; Ex. I; Ex. L, pp. 8, 11; Ex. M.




                                                   27
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 28 of 30



        65.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 13 of the '552

Patent by ShotLink, which includes distributing input data over the wireless network to a

production module simultaneously from a plurality of spotters covering various players of the golf

tournament, the production module being configured to display distributed input data so as to

selectively distribute a portion of the transmitted input data to an external television network based

on characteristics of displayed input data, the production module having a processing module

connected between the production module and the wireless network, the processing module

configured to receive data requests over the wireless network simultaneously from a plurality of

second portable devices and to distribute requested data to each second portable device over the

wireless network based on received data requests from each second portable device, respectively

as described and shown in Ex. F; Ex. G; Ex. I; Ex. L, pp. 8, 11; Ex. M.

        66.     PGA TOUR has infringed and continues to infringe, literally, directly or indirectly,

or under the doctrine of equivalents, one or more claims, including at least Claim 13 of the '552

Patent by ShotLink, which includes selectively displaying graphical representations of the

transmitted data and endorsement information on the second portable device according to inquiries

of the user as described and shown in Ex. I; Ex. L, pp. 8, 11; Ex. M.

        67.     On information and belief, Defendant PGA TOUR's infringement has been willful

since at least receipt of the Notice Letter.

        68.     The facts and circumstances surrounding the subject of this lawsuit, on information

and belief, make this an "exceptional case" under 25 U.S.C. § 285 and as such, Plaintiff is entitled

to recover attorneys' fees under 25 U.S.C. § 285.

                                          JURY DEMAND

        Plaintiff hereby requests a trial by jury on issues so triable by right.

                                                   28
         Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 29 of 30



                                      PRAYER FOR RELIEF

WHEREFORE, Information Images, LLC respectfully requests the following relief:

       A.        Enter judgment that PGA TOUR, Inc., has infringed the '832 Patent and the '552

Patent and that such infringement was willful;

       B.        Enter an Order enjoining PGA TOUR, Inc., its agents, officers, servants,

employees, attorneys, and all persons in active concert or participation with PGA TOUR, Inc., who

receive notice of the order from further infringement of the '832 Patent and the '552 Patent;

       C.        Award Information Images, LLC damages in an amount sufficient to compensate

it for PGA TOUR's infringement of the '832 Patent and the '552 Patent, including enhanced

damages, together with pre-judgment and post-judgment interest and costs in accordance with 35

u.s.c. § 284;
       D.        Award Plaintiff an accounting for acts of infringement not presented at trial and an

award by the Court of additional damages for any such acts of infringement;

       E.        Declare this case to be "exceptional" under 35 U.S.C. § 285 and award Plaintiff its

attorneys' fees, expenses and costs incurred in this action; and

       F.        Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




                                                  29
       Case 6:20-cv-00268-ADA Document 1 Filed 04/06/20 Page 30 of 30




Dated: April 6, 2020                      Respectfully submitted,


                                          By: /s/ John H. Barr, Jr.
                                          John H. Barr, Jr.
                                          Attorney In Charge
                                          Texas Bar No. 00783605
                                          jbarr@pattersonsheridan.com

                                          John A. Yates
                                          Texas Bar No. 24056569
                                          jyates@pattersonsheridan.com

                                          B. Todd Patterson
                                          Texas Bar No. 00789537
                                          tpatterson@pattersonsheridan.com

                                          Patterson + Sheridan LLP
                                          24 Greenway Plaza, Suite 1600
                                          Houston, Texas 77046
                                          (Tel): 713-623-4844
                                          (Fax): 713-623-4846

                                          Abelino Reyna
                                          Texas Bar No. 24000087
                                          areyna@pattersonsheridan.com

                                          Patterson + Sheridan LLP
                                          900 Washington Ave., Suite 503
                                          Waco, Texas 76701
                                          (Tel.): 254-777-5248
                                          (Fax): 877-777-8071

                                          Attorneys for Plaintiff,
                                          Information Images, LLC




                                     30
